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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA, et al.,

                   Plaintiff,

            v.                                          Case No. 1:20-cv-03010-APM

  GOOGLE LLC,

                   Defendant.


                     DECLARATION FOR PRO HAC VICE ADMISSION

       In accordance with LCvR 83.2(c)(2) and LCrR 44.1(c)(2), I hereby declare that the answers

to the following questions are complete, true, and correct:

       1.        Full Name:

                 Sarah M. Ray

       2.        State bar membership number:

                 California 229670

       3.        Business address, telephone, and fax numbers:

                 Latham & Watkins LLP
                 505 Montgomery Street, Suite 2000
                 San Francisco, CA 94111
                 Tel: (415) 391-0600
                 Fax: (415) 395-8095

       4.        List all state and federal courts or bar associations in which you are a member “in

good standing” to practice law:

                 California, United States Court of Appeals for the Second Circuit, United States
                 Court of Appeals for the Seventh Circuit, United States Court of Appeals for the
                 Ninth Circuit, United States District Court for the Central District of California,
                 United States District Court for the Eastern District of California, United States
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               District Court for the Northern District of California, and United States District
               Court for the Southern District of California.

       5.      Have you been denied admission, disbarred, suspended from practice, reprimanded,

denied “in good standing” status, or otherwise disciplined by any court, bar association, grievance

committee or administrative body?

               ☐ Yes ☒ No

       6.      Have any proceedings which could lead to any such disciplinary action been

instituted against you in any such bodies?

               ☐ Yes ☒ No

       7.      List the number of times you have been admitted pro hac vice into this court within

the last two years:

               None.

       8.      Although Latham & Watkins LLP does have an office within the District of

Columbia, it is not my principal office and I do not normally practice in or from the District.

       9.      Are you a member of the DC Bar?

               ☐ Yes ☒ No

       10.     Do you have a pending application for admission into the U.S. District Court for

the District of Columbia?

               ☐ Yes ☒ No

        In compliance with Local Rule 83.2(b) or LCrR 44.1(b), an attorney who wishes to
appear as sole or lead counsel in a contested evidentiary hearing or trial on the merits further
certifies that he/she:

                            (CHECK ALL ITEMS THAT APPLY)

   1. ☒        has previously acted as sole or lead counsel in a federal district court or the Superior
               Court of the District of Columbia or a state trial court of general jurisdiction in a


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            contested jury or bench trial or other contested evidentiary hearing in which
            testimony was taken in open court and an order or other appealable judgment was
            entered. [LCvR 83.2(b)(l)/LCrR 44.l(b)(l)]; OR

  2. 0      has participated in a junior capacity in an entire contested jury or bench trial in a
            federal district court or the Superior Court of the District of Columbia or a state
            trial court of general jurisdiction. [LCvR 83.2(b)(2)/LCrR 44.l(b)(2)]; OR

  3. 0      has satisfactorily completed a continuing legal education trial advocacy course of
            at least 30 hours sponsored by the District of Columbia Bar or accredited by a State
            Bar. [LCvR 83.2(b)(3)/LCrR44.1(b)(3)]

     I declare under penalty of perjury that the foregoing is true and correct.


Date: December 20, 2024
                                                           .Ray
                                                          No. 229670
                                                  LATHAM & WATKINS LLP
                                                  505 Montgomery Street, Suite 2000
                                                  San Francisco, CA 94111
                                                  Tel: (415) 391-0600
                                                  Fax: (415) 395-8095
                                                  Email: sarah.ray@lw.com




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       CERTIFICATE OF THE CLERK OF THE SUPREME COURT

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                              STATE OF CALIFORNIA

                                  SARAH MEYERS RAY


I, JORGE E. NAVARRETE, Clerk/Executive Officer of the Supreme Court of the State of
California, do hereby SARAH MEYERS RAY, #229670 was on the 5th day ofJanuary 2004,
duly admitted to practice as an attorney and counselor at law in all the courts of this state,
and is now listed on the Roll of Attorneys as a member of the bar of this state in good
standing.



                                                  Witness my hand and the seal of the court
                                                  on the 13 th day of December 2024.



                                                  JORGE E. NAVARRETE
                                                                zcer of the 8-up r;_me Court
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